
347 S.E.2d 464 (1986)
Sharon Ann MAPP
v.
TOYOTA WORLD, INC. and Barclays American Financial Corporation, Inc.
No. 452P86.
Supreme Court of North Carolina.
August 28, 1986.
Morris, Golding, Phillips &amp; Cloninger, Asheville, for defendants.
Lentz, Ball, Kelley &amp; Arrowood, Asheville, for plaintiff.

ORDER
Upon consideration of the petition filed by Defendant (Toyota World, Inc.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th day of August 1986."
